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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

G&G CLOSED CIRCUIT EVENTS, LLC,

                          Plaintiffs,
                                                                    ORDER
            - against -
                                                             20 Civ. 3491 (PGG)
MARISOL ROSSI, individually and d/b/a
Solace Bar & Grill, and SOLACE BAR &
GRILL, an unknown business entity d/b/a
Solace Bar & Grill

                          Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

              For the reasons discussed at the October 15, 2020 hearing, Plaintiff’s application

for a default judgment against Defendant Marisol Rossi is denied.

Dated: New York, New York
       November 6, 2020
                                            SO ORDERED.


                                            _________________________________
                                            Paul G. Gardephe
                                            United States District Judge
